Case 3:23-cv-03417-VC   Document 442-2   Filed 02/14/25   Page 1 of 17




             EXHIBIT B
Case 3:23-cv-03417-VC     Document 442-2    Filed 02/14/25    Page 2 of 17




  1                  12/17/2024 - MARK ZUCKERBERG

  2                  UNOFFICIAL DRAFT TRANSCRIPT

  3

  4      ** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY **

  5

  6              This draft transcript is unedited and

  7    uncertified.     It may contain untranslated

  8    stenographic symbols, an occasional reporter's note,

  9    a misspelled proper name and/or nonsensical word

 10    combinations.     These and any other errors will be

 11    corrected in the final transcript.

 12                      It contains raw output from the court

 13    reporter's stenotype machine translated into English

 14    by the court reporter's computer, without the

 15    benefit of proofreading.    Since this transcript has

 16    not been proofread, the court reporter cannot assume

 17    responsibility for any errors therein.

 18                      This draft transcript is intended to

 19    assist attorneys in their case preparation and is

 20    not to be construed as the final transcript.     It is

 21    not to be duplicated or sold to other persons or

 22    businesses.     It is not to be read by the witness or

 23    quoted in any pleading, or for any other purpose,
Case 3:23-cv-03417-VC     Document 442-2     Filed 02/14/25     Page 3 of 17



 11    although, I'm not sure I could name any specific

 12    ones right now.

 13         Q.      In terms of Meta's policy, does Meta have

 14    a policy against downloading materials from websites

 15    that are known to contain copyrighted materials for

 16    which they do not have licenses?

 17                 ATTORNEY GHAJAR:   Objection.   Lacks

 18    foundation.     Vague.

 19                 THE WITNESS:   I'm not sure if we have a

 20    specific policy around that or if it's just a

 21    broader ethics policy around how we should think

 22    about using data and who we work with more broadly.

 23    BY ATTORNEY BOIES:

 24         Q.      Would you agree, as the CEO of Meta, that

 25    Meta should not be using websites that web -- that


                                                               97




  1    Meta knows contains illegally pirated copyright

  2    materials?

  3                 ATTORNEY GHAJAR:   Objection.   Vague.    Also

  4    assumes facts not in evidence.

  5                 THE WITNESS:   I mean, on its face, that

  6    seems like a reasonable thing to say, but I think

  7    you would want to think through the nuances of it a
Case 3:23-cv-03417-VC     Document 442-2    Filed 02/14/25     Page 4 of 17




  8    little bit more.

  9              For example, YouTube, I think, may end up

 10    hosting some stuff that people pirate for some

 11    period of time, but YouTube is trying to take that

 12    stuff down.   And the vast majority of the stuff on

 13    YouTube, I would assume, is kind of good and they

 14    have the license to do.    So would I want to have a

 15    policy against people using YouTube because some of

 16    the content may be copyrighted?     No, that doesn't

 17    seem reasonable.     But I understand the question that

 18    you're asking.

 19    BY ATTORNEY BOIES:

 20         Q.   Yeah.    The question I'm asking really is

 21    if you have a website or source that contains

 22    copyrighted materials that they do not have a

 23    license for and they intentionally are making

 24    unlicensed copyrighted materials available to the

 25    public, would you agree, as the CEO of Meta, that


                                                              98




  1    Meta should not be downloading materials from

  2    websites like that?

  3              ATTORNEY GHAJAR:     Objection.   Vague.    Also
Case 3:23-cv-03417-VC     Document 442-2     Filed 02/14/25    Page 5 of 17



  4    an incomplete hypothetical.      Assumes facts.

  5                 THE WITNESS:   Yeah, I mean, it's -- I

  6    think it's -- it's --

  7                 You know, I mean the way that you frame

  8    it, it seems like that's something that we should be

  9    pretty careful about, but I think when you get into

 10    the nuances, it's hard to assess what people's

 11    intent is.

 12                 You know, I mean, going back to the

 13    YouTube example before, where I think that there's

 14    some percent of the content is probably stuff that

 15    they don't have copyright or don't have the license

 16    to distribute.    Early on, I think that people did

 17    make some assertions about YouTube's intent on this,

 18    and they were less mature about developing their IP

 19    rights management.

 20                 But even then, I don't think that I

 21    would've said that I wouldn't want people at Meta

 22    not to use YouTube, at that point.      So -- so I don't

 23    know.

 24                 I just think it's -- I think what you're

 25    saying -- I think it kind of -- the way you're


                                                              99
Case 3:23-cv-03417-VC   Document 442-2      Filed 02/14/25   Page 6 of 17




  1    characterizing it, it sort of broadly seems like,

  2    yes, that seems like a bad thing.    But I just am --

  3    I want to be caution about making a blanket

  4    statement about policies, and this is why we have

  5    teams who think through this carefully because there

  6    are often more nuances than is kind of apparent the

  7    first -- in, like, when you just think about it, at

  8    first blush.

  9    BY ATTORNEY BOIES:

 10         Q.   When you say "that seems like a bad

 11    thing," what are you referring to?

 12         A.   Your characterization of it.    You know,

 13    if -- if there's a -- somebody who's providing a

 14    website and they're intentionally trying to violate

 15    people's rights, than, yeah.   I mean, I think that

 16    the behavior that you're describing, obviously,

 17    seems like it's something that we would want to be

 18    cautious about or careful about how we engaged with

 19    it or maybe prevent our teams from engaging with it.

 20              But I just think it requires a little bit

 21    further analysis before I can issue sort of like a

 22    blanket assessment of what our policy should be,

 23    because I think -- you know, this is the example I

 24    was giving around YouTube right now.

 25              I think even just a couple minutes of
Case 3:23-cv-03417-VC      Document 442-2   Filed 02/14/25    Page 7 of 17




                                                             100




  1    thinking through what's cases might be around that

  2    highlights why there are cases where having such a

  3    blanket ban might not be the right thing to do.

  4         Q.   I'm trying to focus not on YouTube, which

  5    you keep coming back to.    I'm trying to focus on

  6    websites like LibGen, and I'm trying to talk about

  7    it generally, because you say you've never heard of

  8    LibGen.

  9              And what I'm asking about is, if you've

 10    got a website that, on its face, purports to

 11    distribute copyrighted materials for which there is

 12    no license -- which, obviously, is not what YouTube

 13    does -- would you agree that either as a matter of

 14    law or ethics, you would not want Meta trafficking

 15    with that website?

 16              ATTORNEY GHAJAR:     Objection.   The

 17    question's vague.    Incomplete hypothetical.

 18              THE WITNESS:     Yeah, I mean, I get that

 19    you're trying to get me to give an opinion on

 20    LibGen, which I haven't really heard of.

 21    BY ATTORNEY BOIES:
Case 3:23-cv-03417-VC    Document 442-2     Filed 02/14/25        Page 8 of 17



 22         Q.     No I'm saying you haven't heard of

 23    LibGen --

 24         A.     No, things like it.   Things like it.     I

 25    understand what you're saying.     It's just a little


                                                                 101




  1    hard for me to weigh in on that without looking at

  2    the nuances of that case.

  3                And the YouTube example, I just keep

  4    raising because it's an example of a thing that --

  5    of a product that over time I think people have

  6    alleged have been potentially willful and not doing

  7    enough to suppress or kind of clean up copyrighted

  8    content and -- so I'm just trying to be careful,

  9    because rather than having a conversation in some

 10    sort of like absolute about how we would handle that

 11    kind of case, I think I'd -- I just would want to

 12    have some more time to think through it.     I'd want

 13    our policy team to think through it.     And I also

 14    think it makes sense to look at the specifics of the

 15    case because -- I mean, I think some people may

 16    allege that YouTube fits the characteristics of what

 17    you're saying too, and that's an example of the type

 18    of website that I would probably not think that we
Case 3:23-cv-03417-VC    Document 442-2     Filed 02/14/25     Page 9 of 17




 19    should bend from using.

 20              But I get that you're trying to ask about

 21    something different.     It's just that I don't have

 22    knowledge of that specific thing.

 23         Q.   I am asking a different question, and you

 24    know perfectly well that YouTube does not purport to

 25    be in the business of distributing copyrighted


                                                              102




  1    materials for which it has no license; correct, sir?

  2         A.   Yes.   So you're saying that another

  3    website goes out of its way to communicate that it's

  4    distributing illegal materials?

  5         Q.   Yes, sir.

  6              And you certainly agree you don't want to

  7    do business with somebody like that; right?

  8              ATTORNEY GHAJAR:     Objection.   Assumes

  9    facts and incomplete hypothetical.

 10              THE WITNESS:    I mean, in general if

 11    someone is broadcasting loudly that they're doing

 12    something that is illegal, that would be a pretty

 13    big red flag that I'd want us to look at carefully

 14    before engaging with them in any way.
Case 3:23-cv-03417-VC   Document 442-2    Filed 02/14/25   Page 10 of 17



 15              Now, if in the context of building like a

 16    web crawler or something like that, you know,

 17    it's -- I don't expect the web crawler to understand

 18    the context of each of the -- the websites and maybe

 19    some of it would be included in that so I just want

 20    to be careful about having some kind of,   like,

 21    blanket statement on this.

 22              But, yes, if someone is generally

 23    broadcasting and saying "we're doing something

 24    illegal," then I would want my teams to, you know,

 25    be very careful and not just default into using that


                                                           103




  1    thing.

  2    BY ATTORNEY BOIES:

  3         Q.   I'm talking a little bit more about just

  4    being very careful?

  5         A.   About what?

  6         Q.   And I'm trying --

  7              I'm talking a little bit more about

  8    just -- than just being careful.

  9              I'm asking you, as the CEO of Meta, what

 10    nuance do you see in downloading materials from a

 11    site that intentionally, and outwardly, says that it
Case 3:23-cv-03417-VC    Document 442-2    Filed 02/14/25    Page 11 of 17




 12    is providing copyrighted works for which it has no

 13    license?

 14               What's the nuance there, sir?

 15               ATTORNEY GHAJAR:   Objection.   Vague.

 16    Assumes facts.

 17               THE WITNESS:   You know, I just want to be

 18    careful because in my experience running the company

 19    and dealing with different content policies and

 20    things like that, a lot of things which seem obvious

 21    immediately, upon further inspection and looking at

 22    it from different angles, there are -- there is more

 23    nuance to it.    So I'm just sort of saying that in

 24    response to your hypothetical, I think it deserves

 25    more than a knee jerk response even though the way


                                                             104




  1    that you are characterizing it is certainly

  2    something that would be predisposed to look at and

  3    think, "Hey, that looks negative.    I'd want to dig

  4    into this."

  5               But one example that I just gave a moment

  6    ago is what -- what Spidermate does in crawling.

  7    And we covered this earlier; right?    So I think that
Case 3:23-cv-03417-VC    Document 442-2   Filed 02/14/25    Page 12 of 17



  8    there's a probably somewhat of a different between

  9    the team making an intentional decision to go out

 10    and engage with, or partner with, a website that

 11    is -- purports to be, kind of, blatantly doing

 12    something illegal as opposed to something like

 13    Spidermate where the goal of it is crawl the web.

 14    And it's not -- it's not making an assessment of

 15    whether the content on any given website is legal or

 16    harmful or anything.   It basically is downloading

 17    and making -- doing a web crawl.   And then it's kind

 18    of up for maybe for us later to filter some things

 19    out but in that case we may have a system that is

 20    engaging with a website like that and downloading

 21    that content and that may be something that at least

 22    for the first round of how that product or

 23    technology works you would want it to go crawl that

 24    website even if were doing something that were

 25    illegal and then it would be up the product teams


                                                            105




  1    later to decide whether they would want to include

  2    it in some way.

  3              But this is all just sort of an example

  4    of -- I think these things can sometimes end up
Case 3:23-cv-03417-VC    Document 442-2     Filed 02/14/25      Page 13 of 17




  5    being more nuanced than they initially seem is

  6    basically the main point that I'm making, but I

  7    agree with your basic point that it seems

  8    problematic and I would look at it with a general,

  9    you know, prejudice or bias up front thinking that

 10    was probably bad, but I think it deserves a little

 11    bit more thought just a, you know, me opining on a

 12    hypothetical here.

 13    BY ATTORNEY BOIES:

 14         Q.   I want to the come back to my question,

 15    but you mentioned Spidermate in this context.          And

 16    you mentioned Spidermate crawling the web, including

 17    going to these websites that have the illegal

 18    pirated materials.

 19              You could tell Spidermate not to go to

 20    those websites, could you not, sir?

 21              ATTORNEY GHAJAR:      Objection.   Assumes

 22    facts.

 23              THE WITNESS:   Yes.     There are ways --

 24    BY ATTORNEY BOIES:

 25         Q.   Okay.


                                                                106
Case 3:23-cv-03417-VC     Document 442-2   Filed 02/14/25     Page 14 of 17



  1         A.    -- to tell Spidermate to not crawl

  2    specific things --

  3         Q.    Okay.

  4         A.    -- including things like, you know,

  5    robots.txt that, you know, when Spidermate is -- or

  6    any web crawler is crawling, it can read something

  7    in a very specific format that says "Hey, is this

  8    supposed to be crawled or not?"

  9               But I don't think, as it is built today,

 10    Spidermate makes any assessment of the content or

 11    tries to understand the content or summarize it

 12    enough to make a judgment about whether the content

 13    is worthy of being included other than, you know,

 14    whether we basically put it on a block list or

 15    whether some robots.txt says that it shouldn't be

 16    crawled.

 17         Q.    When you -- when you refer to the "block

 18    list," what are you referring to?

 19         A.    I'm referring to your hypothetical.       I'm

 20    not aware that anything like that makes sense.        You

 21    were just asking whether we could block something,

 22    and I think that, in theory, it would probably be

 23    easy to make list of domains that we didn't want

 24    Spidermate to crawl, but then we would've needed to

 25    have gone and done that analysis in advance and put
Case 3:23-cv-03417-VC     Document 442-2   Filed 02/14/25   Page 15 of 17



                                                            171




  1              So I -- in this I think there is this

  2    question about, like, an author or a copyright

  3    holder may not want something to be shared -- I

  4    don't know.   I think that that's -- it's an

  5    interesting question about whether there's any kind

  6    of public interest in that.

  7              I mean, I think -- and these are -- these

  8    are interesting copyright questions overall that I

  9    think will be maybe resolved through this case, but,

 10    like -- but, you know, as a -- just to take an

 11    analog example -- and I can cut off at any point

 12    that you want.

 13    BY ATTORNEY BOIES:

 14         Q.   Any time would be good.    Because I'm going

 15    to run out of time.

 16         A.   Okay.    Go for it.   I'll stop.

 17         Q.   What I'm trying to do is I'm trying to

 18    focus here on --

 19              I accept that you want to have as much

 20    data to train your models as you can, and I accept

 21    that the more data that you have, the better the

 22    models are going to be, and I accept having good
Case 3:23-cv-03417-VC    Document 442-2      Filed 02/14/25   Page 16 of 17



 23    models is productive.    Okay?

 24              What I'm asking you is whether there are

 25    certain standards that you would expect your company


                                                              172




  1    to adhere to in terms of sourcing that data.

  2              I mean, just for example, you saw one of

  3    the Meta people saying "we shouldn't use pirated

  4    datasets as a source."

  5              Do you agree with that as the CEO?

  6              ATTORNEY GHAJAR:       Objection.   First, the

  7    preamble misstates prior testimony.       Second, asked

  8    and answered.    Third, vague.

  9              THE WITNESS:    I think I'd need to

 10    understand it more, but, I mean, in general if

 11    someone's characterizing something as pirated, that

 12    seems like at a minimum a pretty big red flag to

 13    understand whether it's a useful thing.

 14              But I just -- I want to avoid a kind of

 15    wholistic, you know, absolute response to this

 16    because I think that there's all these exceptions

 17    where things may be in the public good or you --

 18    and, like, you want to -- you know, even if someone

 19    doesn't want a specific dataset about them or
Case 3:23-cv-03417-VC     Document 442-2    Filed 02/14/25    Page 17 of 17




 20    something that they produced to be out there,

 21    there's just a lot of precedent, both in copyright

 22    law and -- just in society more broadly about why it

 23    might be good to use those things.     So I guess in

 24    general my view is, yeah, if someone thinks that

 25    something is pirated, that's in general a pretty


                                                              173




  1    negative connotation and a red flag that we should

  2    look into it, and I would want us to do that.

  3              Can I sit here right now and give, like, a

  4    wholistic response that I would want to immediately

  5    ban our use of that without more thorough

  6    consideration of the -- of the pros and cons, of the

  7    nuances of that?    I just think that my experience on

  8    this stuff is that this -- sometimes there's more

  9    nuance.   Sometimes there isn't and sometimes you

 10    kind of dig in further and you're like, no, this is

 11    just really bad, we shouldn't do it.     I'm not saying

 12    that, like, we justify anything.     I mean, obviously

 13    there are a lot of things that we decided not to do,

 14    but I guess I just want to be careful about giving

 15    too quick of a knee-jerk reaction to that.
